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                                                                                REDACTED



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                                           No.Details
                                                1-2,- CourtView
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                                                                Justice Solutions

 2021-000464-CK GISSENDANNER, JUANA vs. RVERSOURCE LIFE
 INSURANCE COMPANY JT

   Case Type:
   CK-CONTRACTS
   Case Status:
   Open
   File Date:
   02/04/2021
   DCM Track:

   Action:
   COMPLAINT FILED - CIVIL
   Status Date:
   02/04/2021
   Case Judge:
   TOIA, JOSEPH
   Next Event:




   All Information    Docket   Party   Financial   Receipt   Disposition


      Docket Information
     Date            Description                              Docket Text                                     Amount Amount File
                                                                                                               Owed    Due Ref
                                                                                                                            Nbr.
     02/04/2021 ENTRY FEE                                     ENTRY FEE Receipt: 1275927 Date: 02/22/2021     $150.00    $0.00
     02/04/2021 ELECTRONIC FILING SYSTEM FEE -                ELECTRONIC FILING SYSTEM FEE - CIVIL Receipt:    $25.00    $0.00
                CIVIL                                         1275927 Date: 02/22/2021
     02/04/2021 COMPLAINT/PETITION FILED - CIVIL              COMPLAINT/PETITION FILED - CIVIL W/EXHBTS 1-2
                                                              JUANA GISSENDANNER (PLAINTIFF);
                                                              RVERSOURCE LIFE INSURANCE COMPANY
                                                              (DEFENDANT);
     02/04/2021 SUMMONS ISSUED                                SUMMONS ISSUED **EXP 5/5/2021**
     02/04/2021 CASE PLACED ON E-FILING STATUS                CASE PLACED ON E-FILING STATUS PER
                PER ADMINISTRATIVE ORDER 2010-6               ADMINISTRATIVE ORDER 2010-6
     02/19/2021 TRUEFILING PROOF OF SERVICE                   TRUEFILING PROOF OF SERVICE
                                                              (OBDH=94027292)
     02/19/2021 TRUEFILING PROOF OF SERVICE                   TRUEFILING PROOF OF SERVICE
                                                              (OBDH=94027369)




      Party Information
      GISSENDANNER, JUANA
      - PLAINTIFF
     DOB                                                 Alias
     DOD                                                 Party Attorney
                                                         Attorney
     Disposition                                         LEHMAN, ARI W.
                                                         Bar Code
     Disp Date                                           68862

                                                                                                              More Party Information

      RVERSOURCE LIFE INSURANCE COMPANY
      - DEFENDANT


courtpa.macombgov.org/eservices/;jsessionid=95AF35585BE9C67CBDBB6756C57FAE17?x=pcn8ZP6*rKKOblmWKYkX*KqwEV2Bbveb34df1UhJ3p…             1/2
3/31/2021    Case 2:21-cv-10731-SJM-KGA ECFCase
                                            No.Details
                                                 1-2,- CourtView
                                                       PageID.48         Filed 03/31/21 Page 43 of 43
                                                                 Justice Solutions
     DOB                                                 Alias
     DOD                                                 Party Attorney
     Disposition

     Disp Date

                                                                                                                         More Party Information




      Financial Summary
     Cost Type                 Amount Owed                   Amount Paid                Amount Adjusted                   Amount Outstanding
     FILING FEE                        $175.00                       $175.00                          $0.00                              $0.00
     Total             Total                     Total                         Total                          Total
                                       $175.00                     $175.00                          $0.00                                $0.00




      Receipts
     Receipt Number             Receipt Date                     Received From                                                Payment Amount
     1275927                    02/22/2021                       GISSENDANNER, JUANA                                                   $175.00
     Total                     Total                         Total                                               Total
                                                                                                                                      $175.00




      Case Disposition
     Disposition                                                 Date                  Case Judge
     UNDISPOSED                                                                        TOIA, JOSEPH




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